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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE




    AUBRY MCMAHON,
                                                    CASE NO. 2:21−cv−00920−JLR
           Plaintiff(s),
         v.                                         MINUTE ORDER SETTING
                                                    TRIAL DATES AND
    WORLD VISION INC,                               RELATED DATES
          Defendant(s).


     JURY TRIAL DATE                                         June 3, 2024
     Length of Trial                                         2−3 days
     Deadline for joining additional parties
     Deadline for amending pleadings
     Disclosure of expert testimony under
          FRCP 26(a)(2)
     All motions related to discovery must be filed by
          (see LCR 7(d))
     Discovery completed by
     All dispositive motions and motions challenging
          expert witness testimony must be filed by
          (see LCR 7(d))
     Settlement conference held no later than
     All motions in limine must be filed by
          All motions in limine shall be filed as            April 22, 2024
          one motion.

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     Agreed pretrial order due                                   May 13, 2024
     Deposition designations must be submitted in
         hardcopy to the court (not filed on                     May 13, 2024
         CM/ECF) by: (see LCR 32(e))
     Pretrial conference to be held at 02:00 PM                  May 20, 2024
          on
     Trial briefs, proposed voir dire, jury                      May 28, 2024
          instructions by
          Motions raised in trial briefs
          will not be considered.




          These dates are set at the direction of the court after reviewing the joint status
     report and discovery plan submitted by the parties. All other dates are specified in the
     Local Civil Rules. If any of the dates identified in this Order or the Local Civil
     Rules fall on a weekend or federal holiday, the act or event shall be performed on
     the next business day. These are firm dates that can be changed only by order of
     the court, not by agreement of counsel or parties. The court will alter these dates
     only upon good cause shown: failure to complete discovery within the time allowed
     is not recognized as good cause.
          As required by LCR 37(a), all discovery matters are to be resolved by
     agreement if possible. In addition, pursuant to Federal Rule of Civil Procedure 16,
     the Court "direct[s] that before moving for an order relating to discovery, the
     movant must request a conference with the court" by notifying Ashleigh Drecktrah,
     Courtroom Deputy, at Ashleigh_Drecktrah@wawd.uscourts.gov. See Fed.R.Civ.P.
     16(b)(3)(B)(v).
          Counsel are directed to cooperate in preparing the final pretrial order in the
     format required by LCR 16.1, except as ordered below.
          The original and one copy of the trial exhibits are to be delivered to the
     courtroom deputy by close of business the Thursday before trial. Each exhibit shall
     be clearly marked. Plaintiff's exhibits shall be numbered consecutively beginning



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     with 1; defendant's exhibits shall be numbered consecutively beginning with A−1.
     Duplicate documents shall not be listed twice: once a party has identified an exhibit
     in the pretrial order, any party may use it. Each set of exhibits shall be submitted in a
     three−ring binder with appropriately numbered tabs.
          Counsel must be prepared to begin trial on the date scheduled, but it should be
     understood that the trial may have to await the completion of other cases.
          Should this case settle, counsel shall notify Ashleigh Drecktrah at
     Ashleigh_Drecktrah@wawd.uscourts.gov as soon as possible. An attorney who fails
     to give the Deputy Clerk prompt notice of settlement may be subject to such discipline
     as the court deems appropriate.


          A copy of this Minute Order shall be mailed to all counsel of record.


          DATED: December 13, 2023

                                                      s/ Ashleigh Drecktrah
                                                   Ashleigh Drecktrah, Deputy Clerk to
                                                   Hon. James L. Robart, Judge
                                                   (206) 370−8520




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